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                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

IN RE: Ana Medina                                                                                  Case# 20-13160-AJC

              TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION (legal issues: 341)

The Trustee reviewed this case for the meeting of creditors and found the following deficiencies from the Trustee's
Notice of Required Documents, prior deficiencies, and legal issues and thus objects as follows:
Trustee reserves the right to raise additional objections until all requested documents are timely provided.

_ Objection to Exemption (specifics to be filed) to be heard with confirmation at 1:30 pm not at 9:00 am
_Fee application needed (see court guideline 6)                                          ,,,--·
~h 7 is$ 'J,tSX.,/A°')        may increase as documents not provided D Tax refund ITTaluations D Other
_ Good faith payment to unsecured creditors
_Income understated per debtor's stubs$            taxes$           co-debtor stubs$           taxes$ _ __
_ Proofof household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI
_Spouse's pay advices
  Schedule J Expenses objectionable: D Provide Proof line                         D Line _ _ _ _ _ __
       D Object to Schedule J expenses but debtor(s) are over median or 100% plan filed
_Expenses: documentation/calculation: CMI line _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


_ Plan does not pay debtor's calculation of disposable income CMI/DI               x 60 = $_ _ _ __
   D Pending income/expenses issues D Trustee believes D/I is understated (estimated D/I $_ _ _ __
D Feasibility or D plan payments reduce month ___ or D balloon payment
_ Plan does not conform to Applicable Commitment Period < 36 months< 60 months
_Info on transfer SOFA .               undisclosed              D provide Tolling Agreement(s)
other: 1\y\c!f'd qlflr (     ttf(t c.t;    SD    i 1)), ) WCLttJL  11,e I deb-ht (0.@ r ~ /'mfll"/,::ij
 fjr   -h~rt l t-f Lj~POI S Cl Id cl 5( h nh/ IfS Ci )d ! rtflocr kl mi ~ ual-V!?Lfi i___D S .




                                                                                 D Plan includes I 00% Language
                                ,~5"c~
On or before 5 pm on                ·~ -    , all documents/explanations with documented back up must be
received/filed to avoid dismissal. If documents are not timely filed/received by the trustee, the trustee may seek
dismissal of this case. IMPORTANT NOTICE: The debtor or debtor's attorney must appear at the confirmation
hearing even if they agree to the recommendation. The debtor may still be dismissed for failure to fund the plan if they
are delinquent in payments. Attorneys must upload all documents to Trustee through 13Documents.com.

THE PRO SE DEBTOR OR DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S OFFICE AND SPEAK
TO AN ATTORNEY BEFORE 2PM ONE BUSINESS DAY PRIOR TO THE CONFIRMATION HEARING TO
RESOLVE ALL OUTSTANDING ISSUES.
         I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's attorney
or by U.S. First Class pre-paid Mail on the prose debtor on the same day filed with the Court.
 Submitted by
NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
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 RE: Ana Medina                                                                                              Case #20-13160 AJC
        TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
      The Trustee reviewed this ease for the meeting of creditors and found the following deficiencies from the Trustee's letter requesting
                             documents and thus objects as follows: Reviewed documents received prior to: 3/20/20
      Tax returns:                                    ./ Corporate Tax Returns: 2018-2019
      Photo ID                    LF 90                     LF 67        LF 10
      Plan does not fund properly
./ Calculation errors ./. Missing months/amounts                Inconsistent terms       Plan form completed incorrectly
      Attorney fee itemization or Fee Application needed (see court guideline 6)
      Missing 2016(B)        /
      Other provisions:    ( IVL                    100%        Lawsuit        Gambling         MMM
      Reaffirm, redeem or surrender Sch D or G creditor:
      MMM Motion not filed            Valuation motion not filed                       Lien Avoidance motion not filed
      Priority debt on Schedule E not in plan:
      Creditor in Plan is not listed in Schedules or has not filed a POC:
      Creditor paid through the Plan has not filed a POC:
      Object or Conform to Proof of Claim:          Miami-Dade County            Tax Certificate (DE#             Dept of Revenue
          IRS
./    OTHER PLAN ISSUES: Atty Fees cal error
       Missing months in Plan Base




      Real Estate FMV and Payoff:
      Non-Homestead Information Sheet:
./ !Vehicles FMV (NADA/Carmax),!Reg and Payoff:
      Other:
./    Bank Account Statements          3 months pre-petition #2889 (2/1-3/6)




      Copy of check(s) and/or explanation:
      Explanation of withdrawal(s):
      401 K/Retirement/Pension                          Annuity                              Life Insurance Policy
     Domestic Support Obligation form complete with info: name, address and phone
     Wage deduction order or Motion to waive
./ BDQ & attachments                        ./ Profit/loss ./ Balance Sheet
./ Business Bank statements and checks ./ 3 months pre-petition



./ Affidavit of support
    Trustee reserves the right to raise additional objects until all requested documents are timely provided. This deficiency is limited to
 missing documents only. The Trustee will file a Notice of Deficiency with additional document requested and legal issues raised after the
    341 - meeting of creditors. I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's
                  attorney or by U.S. First Class pre-paid Mail on the prose debtor on the same day filed with the Court.
       Submitted by NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE P.O. BOX 279806, MIRAMAR, FL 33027
     *DOCUMENTS MUST BE RECEIVED OR FILED AND ISSUES ADDRESSED AT LEAST FOURTEEN DAYS PRIOR TO EACH
                                   CONFIRMATION HEARING TO AVOID DISMISSAL*
